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                                        No. 23-2267

                                            In the

        United States Court of Appeals
                          For the Fourth Circuit
                                     __________________

                    LEONARD CARROLL, STEPHANIE CARROLL, as individuals,
                                                    Plaintiffs-Appellants,

                                               v.

                                 KENDRA ROSS, as an individual,
                                                        Defendant-Appellee.
                                    __________________
                        On Appeal from the United States District Court
                    for the Northern District of West Virginia at Clarksburg
                              Case No. 1:23-cv-00057-TSK-MJA
                    Honorable Thomas S. Kleeh, Chief District Court Judge
                         Honorable Michael John Aloi, Magistrate Judge
                                     __________________

              MOTION TO DISMISS APPEAL FOR LACK OF APPELLATE
                               JURISDICTION
                               _______________

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                         Counsel for Defendant-Appellee Kendra Ross
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            23-2267
        No. __________             Caption: __________________________________________________
                                            Leonard Carroll, et al. v. Kendra Ross

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Kendra Ross
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          appellee            makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                     i
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Brooks H. Spears
        Signature: ____________________________________                     Date: ___________________
                                                                                       12/18/2023

                     Appellee Kendra Ross
        Counsel for: __________________________________




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                                              MOTION

              Pursuant to Fed. R. App. P. 27, Defendant-Appellee Kendra Ross moves to

        dismiss this appeal for lack of jurisdiction under 28 U.S.C. § 1291 because the

        district court never issued a final decision. On October 30, 2023, the magistrate

        judge entered a report and recommendation, but the district judge never ruled on it.

        “[A] magistrate judge’s report and recommendation is neither a final order nor an

        appealable interlocutory or collateral order.” Turner v. Perry, 651 F. App’x 178,

        179 (4th Cir. 2016). Therefore, this appeal should be dismissed because there is no

        final decision yet from the district court.


        Dated: December 18, 2023                          /s/ Brooks H. Spears
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                                                          Counsel for Defendant-Appellee
                                                          Kendra Ross




                                                      1
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                              CERTIFICATE OF COMPLIANCE

              This motion complies with the type-volume limitation of Fed. R. App. P.

        27(d)(2) because it contains 100 words, excluding the part of the motion exempted

        by Fed. R. App. P. 32(f).

              This motion complies with the typeface and type-style requirements of Fed.

        R. App. P. 32(a)(5) and 32(a)(6) because it has been prepared in a proportionally-

        spaced typeface using Microsoft Word, in 14 point size Times New Roman font.


                                                     /s/ Brooks H. Spears
                                                     Brooks H. Spears

                                                     Counsel for Defendant-Appellee
                                                     Kendra Ross




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                                   CERTIFICATE OF SERVICE

              I hereby certify that on December 18, 2023, the foregoing was filed with the

        Clerk of the United States Court of Appeals for the Fourth Circuit using the appellate

        CM/ECF system. I also certify that on the same day, I sent a copy of the foregoing

        through U.S. Mail, postage prepaid, to the following:

         Leonard Carroll                              Stephanie Carroll
         1213 Cash Valley Road                        1213 Cash Valley Road
         Eglon, WV 26716                              Eglon, WV 26716

         Pro Se Plaintiff-Appellant                   Pro Se Plaintiff-Appellant


                                                        /s/ Brooks H. Spears
                                                        Brooks H. Spears

                                                        Counsel for Defendant-Appellee
                                                        Kendra Ross




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